Case 2:08-cr-00327-SRC   Document 323    Filed 11/03/09     Page 1 of 9 PageID: 1456




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA
                                                    HON.    STANLEY R,   CHESLER


                                                    Crim.   No.   08—327 SPC.


 ANDREW MEROLA,    ET AL.                   :       ORDER



        This matter having been opened to the
                                              Court on the joint
 application of the United States of Ame
                                         rica and the defendants
 (through their respective counsel),            for an order declaring this
matter to be a complex case pursuant to
                                        Title 18,                 United Stares
Code,   Section 3161(h) (8) (B) (ii);    and the Court having considered

the arguments of counsel;        and the defendants being aware that

absent such a finding they would have a
                                        right to be tried within
seventy days of their first appearance
                                       in this district in
connection with this matter,       pursuant to 18 U.S.C.          § 3161(c) (1);
and the charges being the result of a leng
                                           thy investigation and
the defendants needing sufficient time to
                                          review extensive
discovery and to investigate the charges
                                         and file motions in this
case;   and Paul J.   Fishman,   United States Attorney for the

District of New Jersey      (Ronald D.   Wigler,    Assistant U.S.
Attorney,   appearing)   having concurred in the assertion that this

matter is complex as defined in the statute;              and the Court having
found that an order granting a continuance of
                                              the proceedings in
o                 it         ‘0          0                    E          it         0
o                             H          Qi                                                               to                 a                   a          pa-                 0
                                                              ‘          0          H)                                                                                                            0                to          it
                  a           a          to                   a’                                          C                  X                   X          Z                   C)
it                                                                                                        H)                 it                  a                                                0                C           Z’
pa.
                             ‘a          a                    it         a          it                    P-h                a                              ai-’                n                z                 t          a
                             a’                                          a          Z                     F’-
                                                                                                                                                 a                              C                it                I-h
3       -.1       I-’-       H           a’         O.                   it                                                                      C          C                   H                p.’.              pa.
C                                                             S                    CD          ui         ()         .       to                                                                                               a’
        •         5          a’          3          •         0                    i-’-        •
                                                                                                                                                 it         a          &.       H         i      3           H
                                                                         a                                F’.        •       pa.        •                                                                          C)         a
a’             a             it                                                                                                                  -          a          •
                                         a                    it                   H                                                                                            a         •      C           ‘-4              0
3                            I-’-                             pa-                                         a                                      o          to                  a                a                 a
C)      ‘-3    i—’           0          I-’-        H     0              pa-.H                                               a                   z                                                           i-i
a      z-      .               z        it                                                     H          it         H                  3                              ij
                                                                                                                                                                                                 a                 z          a4
                                                                         z         a           z                                                                                0         ‘-4                (0    it          I
•      a                                to                to             a      to                                           a                   0                     3        4         3      t-
               F’            H)                     I-’                                                   it                 pa-      a                              a       a            F’-                                 C)
               it                                                              ‘0              1—’        F’-    F-’         to                                                                  0           ‘-3   C)         a’
       a                     o          o           pa.   to             z         a                                                                       0                 H            to     H           X     a’     t
       a       to            H                                                                 a-’-       a      F’-         a        a          z
                                        0       ‘a        z              z         a        ‘a            a      ‘a
                                                                                                                                                           z         a                                       N     C          it
       H)                                        s        o              a         it
                                                                                                                             o        a                 ‘a           ‘-      to           a      it                to
       a       a          ‘o                     it       C              it
                                                                                               s-                s-          4                                       to      a            a’
                                                                                                                                                                                                                              a-’•
       S       to                                                                  i-’-        it         it     it          a        a                                                          z-          ‘i    a          o
                                                                                                                                             a             0
                             H
                                     ‘gI-’                F-’            3’                                                                                          a       4         to        a           H
                                                                                   4                      0
                                                                                                                                                                                                                                     Case 2:08-cr-00327-SRC




       a       it            a          a        o        a              a                                                   H        5      H             it        0       a         a                    z      to
       a’      a’          it         )(         H)
                                                                                   a          o                  o       ‘<           a      o             s’        4                          it
                                                                                                                                                                                                                              a
       5                                                                H                     H)          F’-    H)                  a’                                                                     a                 a
               C’          H          F’-                 0’                       F’-                                                       C             a         a       a’        pa.      Q         H        0
       it      F.’         F’-        it         it                                                       5              F’-         5       to            H         H       I-’
       to                                                 a           0            3          it          4      it      S           it                             14
                                                                                                                                                                                       5        I-’       Z        E       a
               F’-         a’        ‘<          5’                   H                                                                                                                4        F-’       C)       S
               to          F-’                                                     4          5’          a      ‘                   to      to           it                14                                             a’
                                                 a                                 a          a        to        a       it                                                            0        0                          it
       o       s’                                         i-’-        z         to                     it
                                                                                                                                             a            s’         I-’-              I-’      E         0                it
       o       a          ‘o         I-’-                                                                                5’          a’      a’         1-’-         z
                                                                                                                                                                            aa’                 t-’-
       z                                         ato      i—’         0         it          a          pa-       a’      i-’-        s       H                                                            ‘-i             a
               a           H         it                   a           it        t-’-        I-’-                                                        S                   H         a
       to                                                                                             ‘a         -‘      to                                                                      s
                          0                      it       a                    ‘a           to         a’        i-’
                                                                                                                                     a                 ‘a           it      to        to        ‘a        ‘-
               C
                                                                                                                                             a3’        to
       a                  a          i-’-        a-’-     •          it        a’                                                                                           •
              s           a          to                                                     a         it         a       a           it      a                                                                            to
       it
                                                s                    o         it                     a         ‘a
                                                                                                                                                                    a5’               a’        H        H
              a           a                     a                              1’-                                                   s-      to                                       I-’                w
                                                                                                                a’
                                                                                            o4
                                                                                                                     it
                                                                                                                                                                                                                                     Document 323




                          a          C          i-’-                 I-h       0            a         it        it.it
                                                                                                                                             •         o            a                 I—i
                                                                                                                                                                                                aa’
                                                                                                                                                                                                                          C
                                                                                                                                                                                                                             o
       it
              aii         i-’-
                                                                                                                                     ai-’-
                                     z                               ‘-        z                                                                       4            a’                a         to       n
       o                  5                    ‘a                                                               i-’-     a           H                 a                             ‘a         0
              it                                                               to          ‘<         az’       0    H                                                                                   0                   a
                         ‘a           aH        to                    aF-’                                                                             H            ato               a’        z        a
      it      5’          to          a’                                                                                 •          a
                                                                                           a’                                                                                         it        to                           C’
      5’      a                      to                                                                                             0                               F’-               F’-       •‘
                                                                               a           s           5’                           C                  ‘.0                                               ‘-3                 a
      a                   o                     a’                   oa        a’          a           a’                                                           to                0
              (I)         H                                                                                                         z
                                     oS         S
      a’                                                             it        C)                      H        it                  to                                                                   it
              ‘a                     a’         a                    pa-                                                                               0            4                 to                 3’
                                                                                                                                                                                                                            a3
      it                  it         o-                                        z’ a                   ‘a        s-                  a                  o            o
      o
              aa                                                    o             a                   a         a                                                                                        a’
                          s’         i--’      ‘a                   z          at                     to                                               o            i-’               0                  it
      H       a           a          a          i-’-                to                                                                                              C                                                     aHit
                                                                                                      •
      a       <                                 4
                                                                                a          a                     a                                     E            a                                   it
                                                                                                                                                                                                                                     Filed 11/03/09




                         it         it         a                    pa-                    a                     a                                     F’-         I-’-              H                  5’
                                                                                                                                                                                                                         aa
              ‘-3        H                                                                                                                             H
                                                                                                                                    aaz
                                    0                                                                                                                              S                 a’                 I-’-
                                                                              a5it         I-’-
      S       H          pa.                                                                                                        a                  a
      it      F’-                                                             a            s                                                                                           a                to
                                                                                                                az
                         a’                    it
                                                                                                                                                                   oC
      F’-
                                     a                              it        a’          ‘a                                       it                 pa.                                                                a’
              a’         F-’         )(        3’                   5’        5                                                                                    to                                   a’
              i-’                   ‘a         a                                                                a’                 F’-                5
                                                                                                                                                                                      ait
       oS                pa.                                        i-’-      it          C                                                                                                             C)               0.
                                     a                              to                                                                                it                                                it
              >          it          C)        S
                                                                                          ‘a                    it                 aa                  a           i-’-              aa                 pa.
      aa      a           to        it                                        E           0                     to                                     H           S
                                               a’                   5         pa-         5                                                                                          H                  0                0
              it                               it                   a’        F-’                                                  it                  C)                            F’-
                         aF-’       a’                                                                          z                  0                               it                                   5                H
                                               C                    it        F-’         it                     a                                     a                             S
                         ‘t         a                               it                                                                                ‘a           5’                ‘a                 to
                                    a          aH                                                                                                     it           a’                                                    ‘a
                                                                                          a                                                           to                                                5’                0
                                                                                                                aa
                                    a                                                                                                                              it                it
                                                                    aH
                                                                                                                                                                                                        0                 0
                                                                               sa
                         pa.
                                                                                                                                    a4
                                    C          0                                          H                                         pa.                                              3’                 C
                         it         a’         H)                   a’                                                                                a’           pa.               a’                 I-’
                                                                                                                                                                                                                         a
                         5_         it                              S
                                                                              aa          a
                                                                                          to                                                                       it                it                  a               a’
                                                                                                                                   aE
                                    a          it                   a         it          C                                                           a                                                                  S
                         5                     5’                             pa.
                                               a                                          it
                                                                                                                                   it                 it                                                a0’              a
                                                                              aa          to
                                                                                                                                   z’
                                                                                                                                                                                                                                     Page 2 of 9 PageID: 1457




                                                                                                                                   a                  a
Case 2:08-cr-00327-SRC      Document 323       Filed 11/03/09   Page 3 of 9 PageID: 1458


          8.   The grant of a continuance will
                                               enable counsel                 for the
 defendants      LO   adequately review the discover’r,
                                                                    erecare sot ices
 and proceed with trial.

          9.   Pursuant to Title 18 of the United
                                                  foates Code,                   Secil
 3l6ih; (8),     the ends of justice served by gran
                                                    ting the
 continuance outweigh the best inte
                                    rests of the public and the

 defendants in a speedy trial.

         WHEREFORE,      it is on this;:         day of October,       2009
         ORDERED that the this matter is
                                         hereby designated a complex
 case;

         IT IS FURTHER ORDERED THAT the proc
                                             eedings in the above-
captioned matter are continued from
                                    October 31,                     2009 until
January 15,      2010;

         IT IS FURTHER ORDERED that the perio
                                              d between October 31,
2009 and January 15,         2010 shall be excludable in computin
                                                                  g time
under the Speedy Trial Act of 1974;

         IT IS FURTHER ORDERED that the defendan
                                                 ts shall file their
motions no later than January 15,
                                               2010;   arid
      IT IS FURTHER ORDERED that a schedule
                                            of proceedings in this
matter shall be set once the defendan
                                      ts’               motions have been filed.




                                           e                    —



                                     HON. STANLEY R. CHESLER
                                     United States District Judge
Case 2:08-cr-00327-SRC   Document 323   Filed 11/03/09   Page 4 of 9 PageID: 1459


 Form and entry
   4
   -n-
   -   r   —




 orao P. igier
 Assistant U.S. Attorney



 Salvatore T. Aflano, Esq
 Counsel for defendant Andrew Merola



 Peter F. Willis, Esq.
 Counsel for defendant Kyle Ragusa



Maria DeiGraizo Noto, Esq.
Counsel for defendant Martin Taccetta



Marc K. Leibman, Esq.
Counsel for defendant Edward Deak



Henry E. Klingeman, Esq.
Counsel for defendant Michael Urgola



Christopher D. Adams, Esq.
Counsel for defendant Joseph Manzella




                                    4
Fax from    : 12Z388497                                                  1ø—27—9 4
    Case 2:08-cr-00327-SRC          Document 323       Filed 11/03/09    Page 5 of p
                                                                                   :3
                                                                                   3
                                                                                   0
                                                                                   9 PageID:Pg1460
                                                                                                 2




            ORDERED that the this matter is hereby designated a complex case;

            IT IS Ft.) RTI-IER ORDERED THAT the proceedings in the above-captioned

    matter are continued from October 31, 2009 until January 15. 2010;

            iT IS FURTHER ORDERED that the period between October 31, 2009 and

    January 15, 2010 shalt be excludable in computing time under the Speedy Trial Act of

    1974;

            IT IS FURTHER ORDERED that the defendants shall file their motions no later

   than January 15, 2010; and

            IT IS FURTHER ORDERED that a schedule of proceedings in this matter shall

   be set once the defendants’ motions have been filed.




                              HON. STANLEY ft CHESLER
                                        United States District Judge

   Form and entry
   consented to:



  Ronald U. Wigler
  Assistant U.S. Attorney



  Salvatore T. Aflano, Esq
  Counsel for defendant Andrew Merola



  Peter R, Willis, Esq,
  Counset for defendant Kyle Rag usa

                                            3
Case 2:08-cr-00327-SRC       Document 323     Filed 11/03/09    Page 6 of 9 PageID: 1461




        ORDERED that the this matter is hereby designated a complex case;

        IT IS FURTHER ORDERED THAT the proceedings in the above-captioned

 matter are continued from October 31, 2009 until January 15, 2010;

        IT IS FURTHER ORDERED that the period between October 31, 2009 and

January 15, 2010 shall be excludable in computing time under the Speedy Trial Act of

1974;

        IT IS FURTHER ORDERED that the defendants shall file their motions no later

than January 15, 2010; and

        IT IS FURTHER ORDERED that a schedule of proceedings in this matter shall

be set once the defendants’ motions have been filed.




              HON. STANLEY R. CHESLER
                                   United States District Judge

Form and entry
consented to:



Ronald D. Wigler
Assistant U.S. Attorney



Salvatore T. Aflano, Esq
Counsel for defendant Andrew Merola



Peter R. Willis, Esq.
Counsel for defendant Kyle Ragusa

                                          3
rax iron                                                           i—srJ, nl.ltsp    t’g.
    Case 2:08-cr-00327-SRC    Document 323       Filed 11/03/09   Page 7 of 9 PageID: 1462




      Form and entry
      consented to:



      Ronald D. Wigler
      Assistant U.S. Attorney



      alvatore T. Aflano, Esq
      Counsel for defendant Andrew Merola



     Peter R. W Esq.   ,




     Counsendant Kyle Raqusa




     }Fia Deloto, Esq.                -




     Counsel for defendant Martin Taccetta



     Marc E. Leibinan; Esq.
     Counsel for defendant Edward Dak



     Henry E.   Klingernan,   Esq.
     Counsel for defendant Michael tjrgola



     Christopher D. Adams, Esq.
     Counsel for defendant oseph Manzella




                                             4
                                                                1H—28-t9 12:€i?p
Case 2:08-cr-00327-SRC     Document 323       Filed 11/03/09   Page 8 of 9 PageID: Pg:
                                                                                   1463 S




  Maria DelGriNoto,EsqE
  Counsel for defendant Martin Taccetta



  Leiban,Esq1o/2j
  Counsel for defendant Edward Deaa



  Henry E. Klangeman Esq.
  Counsel for defendant Michael Urgola



 Christopher D, Adams, Esq,
 Counsel for defendant Joseph Manzella




                                          4
Case 2:08-cr-00327-SRC      Document 323     Filed 11/03/09   Page 9 of 9 PageID: 1464




 Maria DeiGraizo Noto, Esq,
 Counsel for defendant Martin Taccetta



Marc E. Leibman, Esq.
Counsel for defendant Edward Deak



Henry E. Klingeman, Esq.
Counsel for defendant Michael Urgola



Christopher D. Adams, Esq.
Counsel for defendant Joseph Manzella




                                         4
